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                                    BEFORE THE
            JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
        -------------------------------------------------------------------------
                      EASTERN DISTRICT OF NEW YORK
                               Donna Hodge, et al . v.
                                Andrew Cuomo, et al.
                           Case No. 2:21-cv-01421-BMG
                         Judge Brian M. Cogan, presiding
        -------------------------------------------------------------------------
                      EASTERN DISTRICT OF NEW YORK

                              Donna Hodge, et al. v.
                         All American School Bus, et al.
                      Case No. 2:21-cv-001366-LDH-RDR
Judge LaShann DeArcy Hall, Presiding Magistrate Judge Ramon E. Reyes, Jr.
       -------------------------------------------------------------------------
                     EASTERN DISTRICT OF NEW YORK

                              Albert E. Percy, et al. v.
                        Oriska Corp General Contracting
                       Case No. 1:20-cv-06131-NGG-CLP
  Nicholas G. Garaufis, presiding Assigned to: Magistrate Judge Peggy Kuo
                           (Consent to Magistrate filed)
       -------------------------------------------------------------------------
                     EASTERN DISTRICT OF NEW YORK

          Bay Park Center for Nursing & Rehabilitation LLC et. al. v.
                                   Philipson et. al.
                        Case No. 2:20-cv-06291-NGG-SJB
                Nicholas G. Garaufis, presiding Sanket J. Bulsara
        -------------------------------------------------------------------------
                     Eastern District of New York (Brooklyn)

           CIVIL DOCKET FOR CASE #: 1:21-cv-01999-RPK-RLM
                        Oriska Corporation v. Hodge et al
                      Assigned to: Judge Rachel P. Kovner
                Referred to: Magistrate Judge Roanne L. Mann
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                  Eastern District of New York (Central Islip)

         CIVIL DOCKET FOR CASE #: 2:21-cv-02050-GRB-ARL
Oriska Corporation v. North Sea Associates, LLC-The Hamptons Center et al
                    Assigned to: Judge Gary R. Brown
             Referred to: Magistrate Judge Arlene R. Lindsay


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                       Eastern District of New York (Central Islip)

               CIVIL DOCKET FOR CASE #: 2:21-cv-02022-GRB-ARL
              Oriska Corporation v. Park Avenue Operating Co. LLC et. al.
                          Assigned to: Judge Gary R. Brown
                   Referred to: Magistrate Judge Arlene R. Lindsay

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                        Eastern District of New York (Central Islip)

                CIVIL DOCKET FOR CASE #: 2:21-cv-02024-PKC-SIL
           Oriska Corporation v. Parkview Care & Rehabilitation Center et al
                            Assigned to: Judge Pamela K. Chen
                      Referred to: Magistrate Judge Steven I. Locke
            -------------------------------------------------------------------------
                       Eastern District of New York (Central Islip)

                CIVIL DOCKET FOR CASE #: 2:21-cv-02025-JMA-ST
           Oriska Corporation v. Pinegrove Manor II, LLC,-Grace Plaza et al
                            Assigned to: Judge Joan M. Azrack
                     Referred to: Magistrate Judge Steven Tiscione
            -------------------------------------------------------------------------
                       Eastern District of New York (Central Islip)

                 CIVIL DOCKET FOR CASE #: 2:21-cv-02010-GRB-ST
                  Oriska Corporation v. Garden Care Center, Inc. et. al.
                             Assigned to: Judge Gary R. Brown
                      Referred to: Magistrate Judge Steven Tiscione
             -------------------------------------------------------------------------
                        Eastern District of New York (Central Islip)

                  CIVIL DOCKET FOR CASE #: 2:21-cv-02029-JS-AKT
Oriska Corporation v. Townhouse Operating Co., LLC-Townhouse Center for Nursing et al
                             Assigned to: Judge Joanna Seybert
                  Referred to: Magistrate Judge A. Kathleen Tomlinson
             -------------------------------------------------------------------------
                          Eastern District of New York (Brooklyn)

               CIVIL DOCKET FOR CASE #: 1:21-cv-02039-ARR-RML
              Oriska Corporation v. West Lawrence Care Center, LLC et al
                           Assigned to: Judge Allyne R. Ross
                     Referred to: Magistrate Judge Robert M. Levy

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                          Eastern District of New York (Brooklyn)

               CIVIL DOCKET FOR CASE #: 1:21-cv-02006-ENV-RML
   Oriska Corporation v. Willoughby Rehabilitation and Health Care Center, LLC et al
                                                    2
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                         Assigned to: Judge Eric N. Vitaliano
                   Referred to: Magistrate Judge Robert M. Levy
          -------------------------------------------------------------------------
                     Eastern District of New York (Central Islip)

            CIVIL DOCKET FOR CASE #: 2:21-cv-02030-WFK-AYS
Oriska Corporation v. Woodmere Rehabilitation and Health Care Center, Inc. et al
                      Assigned to: Judge William F. Kuntz, II
                  Referred to: Magistrate Judge Anne Y. Shields
         -------------------------------------------------------------------------
                    Eastern District of New York (Central Islip)

              CIVIL DOCKET FOR CASE #: 2:21-cv-02009-JMA-ST
       Oriska Corporation v. Bayview Manor LLC, - South Point Plaza et. al.
                          Assigned to: Judge Joan M. Azrack
                   Referred to: Magistrate Judge Steven Tiscione
          -------------------------------------------------------------------------
                       Eastern District of New York (Brooklyn)

              CIVIL DOCKET FOR CASE #: 1:21-cv-02031-PKC-RLM
Oriska Corporation v. Brookhaven Rehabilitation and Health Care Center, LLC et al
                          Assigned to: Judge Pamela K. Chen
                   Referred to: Magistrate Judge Roanne L. Mann
          -------------------------------------------------------------------------
                     Eastern District of New York (Central Islip)

               CIVIL DOCKET FOR CASE #: 2:21-cv-02010-GRB-ST
               Oriska Corporation v. Garden Care Center, Inc. et. al.
                        Assigned to: Judge Gary R. Brown
                  Referred to: Magistrate Judge Steven Tiscione

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                       Eastern District of New York (Brooklyn)

            CIVIL DOCKET FOR CASE #: 1:21-cv-02045-MKB-VMS
Oriska Corporation v. Golden Gate Rehabilitation and Health Care Center LLC et al
                    Assigned to: Chief Judge Margo K. Brodie
                 Referred to: Magistrate Judge Vera M. Scanlon

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                      Eastern District of New York (Brooklyn)

              CIVIL DOCKET FOR CASE #: 1:21-cv-02034-FB-RML
              Oriska Corporation v. Little Neck Care Center, LLC et al
                         Assigned to: Judge Frederic Block
                   Referred to: Magistrate Judge Robert M. Levy

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                       Eastern District of New York (Central Islip)

                CIVIL DOCKET FOR CASE #: 2:21-cv-02021-JMA-ST
                Oriska Corporation v. Nassau Operating Co, LLC et al
                         Assigned to: Judge Joan M. Azrack
                   Referred to: Magistrate Judge Steven Tiscione

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                         Eastern District of New York (Brooklyn)

                 CIVIL DOCKET FOR CASE #: 1:21-cv-02035-FB-RER
Oriska Corporation v. New Surfside Nursing Home, LLC-Caring Family Nursing & Rehab
                                              et al
                            Assigned to: Judge Frederic Block
                   Referred to: Magistrate Judge Ramon E. Reyes, Jr
            -------------------------------------------------------------------------
                         Eastern District of New York (Brooklyn)

                 CIVIL DOCKET FOR CASE #: 1:21-cv-02175-DG-RER
Albert E. Percy and Percy Jobs and Careers Corporation an IRC 501(c)(3) non-profit, as
                 Class Representatives et al v. Children's Law Ctr, et al
                           Assigned to: Judge Diane Gujarati
                   Referred to: Magistrate Judge Ramon E. Reyes, Jr

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                         Eastern District of New York (Brooklyn)

                 CIVIL DOCKET FOR CASE #: 1:21-cv-02182-ENV-RER
Albert E. Percy and Percy Jobs and Careers Corporation an IRC 501(c)(3) non-profit, as
                   Class Representatives v. D & D Metal Work Inc et al
                            Assigned to: Judge Eric N. Vitaliano
                    Referred to: Magistrate Judge Ramon E. Reyes, Jr
             -------------------------------------------------------------------------
                          Eastern District of New York (Brooklyn)

                 CIVIL DOCKET FOR CASE #: 1:21-cv-02194-KAM-PK
Albert E. Percy and Percy Jobs and Careers Corporation an IRC 501(c)(3) non-profit, as
                  Class Representatives v. F & E Maintenance Inc et al
                         Assigned to: Judge Kiyo A. Matsumoto
                        Referred to: Magistrate Judge Peggy Kuo


                              EDNY Case No. 1:21-cv-02198

Albert E. Percy and Percy Jobs and Careers Corporation an IRC 501(c)(3) non-profit, as
                          Class Representatives v. I Grace Co
              Judge Rachel P. Kovner and Magistrate Judge James R. Cho
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                               EDNY Case No. 1:21-cv-02311

Albert E. Percy and Percy Jobs and Careers Corporation an IRC 501(c)(3) non-profit, as
         Class Representatives v. Manhattan Telecommunications Corporation
             Judge Eric N. Vitaliano and Magistrate Judge Robert M. Levy

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                              EDNY Case No. 1:21-cv-02283

                      Percy et al v. U & I Mechanical Corporation
         Judge LaShann DeArcy Hall and Magistrate Judge Vera M. Scanlon
           -------------------------------------------------------------------------
                       EDNY Case No. 1:21-cv-02313-WFK-RLM

Albert E. Percy and Percy Jobs and Careers Corporation an IRC 501(c)(3) non-profit, as
                      Class Representatives v. S & E Azrlliant P C
    Assigned to Judge William F. Kuntz, II and Magistrate Judge Roanne L. Mann.

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                              EDNY 1:21-cv-02314-ARR-VMS

Albert E. Percy and Percy Jobs and Careers Corporation an IRC 501(c)(3) non-profit, as
                        Class Representatives v. P & H Painting Inc
       Assigned to: Judge Allyne R. Ross and Magistrate Judge Vera M. Scanlon
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                          SOUTHERN DISTRICT OF NEW YORK

                                Case No. 1:21-cv-00762-LJL
        Oriska Corporation v. Bay Park Center for Nursing and Rehabilitation
                            Assigned to: Judge Lewis J. Liman
            -------------------------------------------------------------------------
                         NORTHERN DISTRICT OF NEW YORK

                        Case No. #1:21-cv-00104-MAD-DJS
             Oriska Corporation v. Highgate LTC Management, LLC et al
                           Mae A. D'Agostino, presiding
                             Daniel J. Stewart, referral


                        NORTHERN DISTRICT OF NEW YORK

                           Case No. #1:21-cv-00109-MAD-DJS
               Oriska Corporation v. Niskayuna Operating Co., LLC et al
                               Mae A. D'Agostino, presiding
                                 Daniel J. Stewart, referral
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                         NORTHERN DISTRICT OF NEW YORK

                           Case No. # 1:21-cv-00106-MAD-DJS,
            Oriska Corporation v. Troy Operating Co., LLC (Diamond) et al.
                                Mae A. D'Agostino, presiding
                                  Daniel J. Stewart, referral
             -------------------------------------------------------------------------

 MOTION FOR THE TRANSFER OF RELATED ACTIONS IN THE EASTERN
  DISTRICT, NORTHERN DISTRICT and SOUTHERN DISTRICT OF NEW
  YORK FOR COORDINATED PROCEEDINGS PURSUANT TO 28 U.S.C. §
                            1407

      1.     James M Kernan respectfully submits this Motion pursuant to 28 U.S.C. §

1407 for coordinated or consolidated pretrial proceedings before a Judge assigned from

the Eastern District of New York, and states the following:

      2.     I hereby certify pursuant to 28 USC §1746 that the following is true and

correct under the penalty of perjury.

      3.     By this Motion relating to the 33 Cases pending in the Eastern, Southern,

and Northern Districts of New York, related Cases will be consolidated under 1407 into

4 Cases in the Eastern District of New York ("EDNY"), 21-cv-01421, 21-cv-01366, and

20-cv-06291 and 20-cv-06131. The 33 Related Actions were filed in the Eastern District

of New York, Northern District of New York and the Southern District of New York as is

listed on the caption of this motion. The employee Class defendant has removed cases

and has filed new Cases as listed on the attached Schedule.

      4.     This litigation consisting of the 33 class actions identified on this motion

before the MDLP involve common questions of law and fact beginning with the

application of an alternative employment practice as less discriminatory than the

employment practices presently being utilized by the defendants in the actions (the

“Alternative Employment Practice”). The Alternative Employment Practice is applied to

all of the employer defendants who have failed to adopt it after due demonstration and
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 persuasion in accordance with the requirements of 42 U.S.C. 2000d and 2000e- 2. Out

 of that failure arise causes of action under the Employment Retirement Income Security

 Act (“ERISA”) for benefits to the Class of employees and federal questions for denial of

 equal protection of the laws being litigated under 42 U.S.C. 1983.

      5.      This Motion requests that the 33 Cases be reduced to focus the pre-trial

proceedings on 4 Cases:

      EDNY Hodge v Cuomo 21-cv-01421,

      EDNY Percy v Employer and Owners 21-cv-01366,

      EDNY Removal from Nassau County filing in 20-cv-06291-NGG-CLP.

      EDNY Percy v OCGC 20-cv-06131

 The other 29 Cases are subsumed in the 4 Cases. Resolution of the issues raised in the 4

 Cases involve the same parties and the same issues such that the resolution of the 4

 Cases will resolve the issues in the other 29 remaining cases. This is qualified only in

 that certain cases involve different parties named as defendant class members in related

 cases to a EDNY Case 20-cv-06131 because the number of members of the Class

 Defendant were too numerous for upload into a single Case.

      6.      Personal jurisdiction over all of the defendants will be established by

personal service of the Summons in each Case.

      7.      Federal subject matter jurisdiction exists in these Cases based on

preemption under the Employee Retirement Income Security Act of 1974, (“ERISA”), 29

U.S.C. § 1001 et seq. (1132(a)). This court has original jurisdiction over ERISA actions

and subject matter jurisdiction to entertain this action under 28 U.S.C. §§ 1331 and 1345,

29 U.S.C. § 1132(e), 29 U.S.C. § 1001 et seq. and “prohibited transaction penalty

proceedings” (as defined in §2570.2(o) under section 502(i) of the ERISA). To the extent

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that any claim in the Cases are not preempted, they forms part of the same case or

controversy under 28 U.S.C. § 1367(a). Federal question jurisdiction also exists in this

case based upon the Occupational Security Occupational Safety and Health Act of 1970

(“OSHA”), 29 U.S.C. § 651 et seq. Federal question jurisdiction also exists in this case

based upon the Civil Rights Act of 1964 as amended in 1991, 42 U.S.C. § 2000 E-2 et seq.

      8.      Venue in the Eastern District is proper under 28 U.S.C. §1391 because a

substantial part of the events giving rise to the claims made herein occurred in and about

the Eastern District of New York.

      9.      Once application of the Alternative Employment Practice is established

and proven regarding all of the employer defendants warranting a mandatory order from

the Court on the adoption of the Alternative Employment Practice, the Cases then

separate into two categories:

Category 1:
      EDNY Hodge v Cuomo 21-cv-01421
      EDNY Percy v Employer and Owners 21-cv-01366
      EDNY Removal filing in 20-cv-06291-NGG-CLP Nassau
      EDNY NorthSea 21-cv-02050
      EDNY Shore 21-cv-01999
      EDNY Park Ave 21-cv-02022
      EDNY Parkview 21-cv-02024
      EDNY Pingrove 21-cv-02025
      EDNY Garden 21-cv-02010
      EDNY Townhouse 21-cv-02029
      EDNY West Law 21-cv-02039
      EDNY Willough 21-cv-02006
      EDNY Woodmere 21-cv-02030
      EDNY Avalon 2-21-cv-02040
      EDNY Bayview 21-cv-02009
      EDNY Brook 21-cv-02031
      EDNY Golden 21-cv-02045
      EDNY Little 21-cv-02034
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      EDNY Nassau 21-cv-02021
      EDNY New Surf 21-cv-02035
      SDNY Removal filing in 21-cv-00762
      NDNY Removal filing 21-cv-00104 Highgate filing
      NDNY Removal filing in 21-cv-00109 Niskayuna filing
      NDNY Removal filing in 21-cv-00106 Troy filing
Category 2:
      EDNY Percy v OCGC 20-cv-06131
      EDNY 1-21-cv-02175-DG-RER
      EDNY 1-21-cv-02182-RPK-RER
      EDNY 1-21-cv-02194-KAM-PK
      EDNY 1-21-cv-02198-RPK-JRC
      EDNY 1-21-cv-02311-ENV-RML
      EDNY 1-21-cv-02283-LDH-VMS
      EDNY 1-21-cv-02313-WFK-RLM
      EDNY 1-21-cv-02314-ARR-VMS

      10.     Category 1 Cases will proceed on evidence that certain Employer

Defendants have accrued and expensed the costs of employee benefits but have failed to

provide the benefits to their employees, a class of employees suing to recover the benefit

funds to trust, and seeking consequential damages resulting from injuries and illnesses

casually related to failure of benefits under ERISA. In this category 24 Cases can be

consolidated into 3 cases most recently filed in the EDNY federal court, Cases 21-cv-

01421, 21-cv-01366, and 20-cv-06291 subsuming the other Cases in Category 1. These

cases all involve using the Alternative Employment Practice as a ruse to divert the funds

accrued for benefits, funds that were diverted, converted and embezzled away from their

ERISA trust and purposes. The 3 cases EDNY 21-cv-01421, 21-cv-01366, and 20-cv-

06291 will be tried in relation to each Employer Defendant, Owner Operator Defendant,

Person-in-Interest Defendant, and State Officer Defendant, to determine compensatory

damages arising out of breach of ERISA obligations and mandates. In Category 1 the list

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of employer defendant and owner operator defendants can be reduced by mediation or

with a master or judicial hearing Officer eliminating defendants who have no personal

culpability to the funds diverted away from trust, dismissing and leaving only defendants

who are liable to the Employee Class. The Employee Class is identifiable by payroll

records of each Employer Defendant.

      Category 2 Cases will proceed on evidence of the failure of these identified

Employer Defendants to adopt the Alternative Employment Practice after due

demonstration and persuasion. Category 2 Cases will prove the failure of the Employer

Defendants to adopt the Alternative Employment Practice as less discriminatory

employment practice, statistically showing that the identified Class of employer

defendants' current employment practices are an illegal employment practice, proven by

statistical evidence that the these employer defendants' current employment practices

discriminate against persons based upon race, gender, national origin, or disability,

warranting mandated adoption of the Alternative Employment Practice by these

employer defendants, fulfilling the requirements of Presidential Executive Order 11246,

and other federal budgetary enactments requiring equal employment opportunity

("EEO") and affirmative action with regard to the use of federal funds. Again, these cases

begin with establishing the viability of the Alternative Employment Practice under 42

U.S.C. 2000 e--2. Then each Employer Defendant's individual circumstances would

benefit by mediation by an appointed Master or Judicial Hearing Officer. Category 2

mediation by an appointed Master or Judicial Hearing Officer will cover 8,770 Class

defendant employers where the employer defendants will be grouped by industry, and

further grouped by whether the employer defendants receive federal funding, and further

grouped by whether employer defendants' current employment practices have a disparate

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impact based on [race, color, or creed] when compared to the Alternative Employment

Practice. Category 2 will start grouping by Standard Industrial Code ("SIC").

11.    In summary, the consolidation of the Cases into these 2 categories for pretrial

       proceedings:

 Category 1 consolidates 24 cases into 3 Cases.

 Category 2 consolidates 9 cases into 1 Case.

        12.     It is respectfully requested that the cases on the attached Schedule be

 treated as related.

        13.     WHEREFORE, the employee Class Defendant respectfully requests that

 completion of the pre-trial proceedings be in the Eastern District as the most appropriate

 forum addressing Cases 21-cv-01421, 21-cv-01366, and 20-cv-06291 as the lead cases,

 together with such other and additional relief as to the Court may seem just andproper.

        Dated May 6, 2021



                                          James M. Kernan, Esq.
                                          KERNAN PROFESSIONAL GROUP, LLP


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